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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


ROBERT GOOCH,

                     Plaintiff,                  Case No. 1:19-cv-679

v.                                               Hon. Paul L. Maloney

STEVE McCLAIN,
McCLAIN PROPERTIES,
and SERENA ANDERSON,

                     Defendants.
                                   /


                                       JUDGMENT

              The Court dismissed this lawsuit for lack of subject-matter jurisdiction.   All

pending claims have been dismissed without prejudice. As required by Rule 58 of the Federal

Rules of Civil Procedure, JUDGMENT ENTERS.

        THIS ACTION IS TERMINATED.

        IT IS SO ORDERED.



Date:   April 14, 2020                      /s/ Paul L. Maloney
                                          _____________________________
                                          Paul L. Maloney
                                          United States District Judge
